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Exhibit 6
Case 1:13-md-02419-RWZ Document 1258-6 Filed 07/10/14

GIDEON, COOPER & ESSARY

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"LICENSED IN TN & FL
"LICENSED IN TN, AL & TX
SLICENSED IN TN & GA
*LICENSED IN TN & KY
*LICENSED IN TN & WI
SLICENSED IN TN & KS

December 16, 2013

Via e-mail only: gerards@branstetterlaw.com
J. Gerard Stranch, IV .
BRANSTETTER, STRANCH & JENNINGS

227 Second Avenue North

Nashville, TN 37201

Re: Documents Produced in State Court Cases
Dear Gerard:

At the status conference on December 13, 2013, you repeatedly represented to
the Court that you did not have documents we previously produced in state court
litigation.’ We re-checked the file, and, as | thought, that is simply untrue. You have the
document production. In fact, you sent us a CD containing the documents with the
Requests for Admissions you propounded upon our clients in the MDL.

' Wayne A. Reed, individually and as husband and next of kin of decedent, Diana E. Reed, v. Saint
Thomas Outpatient Neurosurgical Center, LLC, Howell Allen Clinic, a Professional Corporation, Saint
Thomas Network, Saint Thomas Health, and St. Thomas Hospital, No. 13C417 (Davidson County Cir. Ct.
voluntarily dismissed June 18, 2013); Frederick May and Loduska May v. Saint Thomas Outpatient
Neurosurgical Center, LLC, Howell Allen Clinic, a Professional Corporation, and St. Thomas Hospital, No.
13C606 (Davidson County Cir. Ct. voluntarily dismissed June 18, 2013); May L. Parman v. Saint Thomas
Outpatient Neurosurgical Center, LLC and Howell Allen Clinic, a Professional Corporation, No. 13C 1005
(Davidson County Cir. Ct. voluntarily dismissed June 18, 2013); Virginia Neely, v. Saint Thomas
Outpatient Neurosurgical Center, LLC, Howell Allen Clinic, a Professional Corporation, Saint Thomas
Network, Saint Thomas Health, and St. Thomas Hospital, No. 13C1876 (Davidson County Cir. Ct.
voluntarily dismissed June 18, 2013).
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Mr. Stranch
December 16, 2013
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As we discussed during various meet and confers, we agree, for the purposes of
the suits in the MDL, the documents previously produced in the Reed, May, Parman,
and Neely cases are true and accurate copies for purposes of any document production
in the MDL. We will be referring to these documents and incorporating them by
reference in responses to the numerous requests for production you have sent in the
MDL.

Pursuant Judge Saylor’s directives on Friday, we will continue to wait for Judge
Saylor (or Judge Boal) to put in place a discovery plan before we respond to your
subpoena and/or discovery requests, and we will not file a motion for protective order
(pursuant his suggestion), instead relying on the pending motion to stay, which he took
under advisement.

lf you believe you do not have all of the documents we previously produced,
please let me know. You can also simply contact George Nolan, Bill Leader, and Doug

Jones, counsel for the plaintiffs in the state court cases, which | am certain you have
already done since you have the documents. .

Please feel free to call if you would like to discuss further.

th. yours,

Chris J. Tardio

Thank you.

CJT/mhe
